                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                            ROANOKE DIVISION


ROGER S. FULLER, JR.,

             Plaintiff,

v.                                               Civil Action No. 7:17CV564
                                                                    (STAMP)
CARILION CLINIC,

             Defendant.


                      MEMORANDUM OPINION AND ORDER
                 GRANTING IN PART AND DENYING IN PART
                  CARILION CLINIC’S MOTION TO DISMISS

                              I.    Background

     This civil action arises out of the arrest of an employee by

an officer of his employer’s private police department.                      The

plaintiff, Roger S. Fuller, Jr. (“Fuller”), filed a complaint in

the United States District Court for the Western District of

Virginia, Roanoke Division, on December 20, 2017.           ECF No. 1.       The

complaint alleges claims arising under 42 U.S.C. § 1983 and

supplemental state claims under 28 U.S.C. § 1367.               ECF No. 1.

     The defendant, Carilion Clinic, filed a motion to dismiss the

complaint (ECF No. 3), and the plaintiff then filed an amended

complaint.      ECF   No.   10.   The   motion   to   dismiss    the   original

complaint was then denied. ECF No. 21. The amended complaint

asserts that the plaintiff was employed by Carilion Clinic as a

janitor and that he was at work when he found three burned, wooden

stick matches and a signed piece of paper near the Carilion Clinic




Case 7:17-cv-00564-FPS Document 23 Filed 10/29/18 Page 1 of 18 Pageid#: 99
dentistry lab.     ECF No. 10 at 4.      The amended complaint asserts

that the plaintiff notified the receptionist of what he had found,

and that the Carilion police then arrived to investigate the

incident.     ECF No. 10 at 4.      The Carilion Police and Security

Services Department is a private police department maintained by

Carilion Clinic and authorized by the Virginia General Assembly

(see Va. Code Ann. § 9.1-101).      ECF No. 10 at 2.

     The amended complaint then alleges that the Carilion police

came to the plaintiff’s residence the following morning and staged

a “surround and call out,” a swat-style arrest tactic, before

entering the plaintiff’s home and taking him to the Carilion police

station for questioning.      ECF No. 10 at 5-6.       Next, the amended

complaint asserts that the Carilion police coerced the plaintiff

into confessing to lighting the matches.            ECF No. 10 at 6-7.

Lastly, the amended complaint alleges that the plaintiff was

terminated from his employment at Carilion Clinic after he refused

to meet with the Carilion police without counsel present.          ECF No.

10 at 8.     Count I of the amended complaint is a claim for the

unreasonable seizure of the plaintiff’s person by the Carilion

police.    ECF No. 10 at 8.   Count II is a claim for the unreasonable

seizure of the plaintiff’s person by Carilion Clinic.          ECF No. 10

at 12.    Count III is a claim for false imprisonment.         ECF No. 10

at 14. Count IV is a claim for intentional infliction of emotional

distress.    ECF No. 10 at 17.


                                    2



Case 7:17-cv-00564-FPS Document 23 Filed 10/29/18 Page 2 of 18 Pageid#: 100
      The defendant filed a motion to dismiss the amended complaint

for failure to state a claim.            ECF No. 13.     In the defendant’s

memorandum     in   support   of   the   motion   to   dismiss   the     amended

complaint, the defendant argues that Counts I and II of the amended

complaint fail to state a claim because Carilion Clinic has no

liability under 42 U.S.C. § 1983 for the acts of its employed

police officers.      ECF No. 13 at 5.         First, the defendant argues

that respondeat superior is not a basis for § 1983 liability.                ECF

No. 13 at 5.    The defendant points out that the United States Court

of   Appeals   for   the   Fourth    Circuit    has    held   that   a   private

corporation cannot be held liable under § 1983 for the acts of its

private police solely on a theory of respondeat superior.                ECF No.

13 at 6 (citing Austin v. Paramount Parks, Inc., 195 F.3d 715, 728

(4th Cir. 1999)).

      Second, the defendant argues that the plaintiff has not

alleged a specific written policy or custom that led to the actions

by the Carilion police.        ECF No. 13 at 6.        The Supreme Court has

held that for a local government to be held liable under § 1983,

the injury must be the result of a specific policy or custom of

that government.      Monell v. Dep’t of Soc. Servs. of City of New

York, 436 U.S. 658, 694 (1978).          The Fourth Circuit has held that

Monell applies to private corporations that employ police officers.

Austin, 195 F.3d at 728.           Thus, the defendant contends that in

order to survive a motion to dismiss, the amended complaint would


                                         3



Case 7:17-cv-00564-FPS Document 23 Filed 10/29/18 Page 3 of 18 Pageid#: 101
need to allege a specific policy or custom of Carilion Clinic’s

that resulted in the plaintiff’s injury.        ECF No. 13 at 6.

     Third, the defendant argues that the plaintiff has not pled a

state agency relationship. ECF No. 13 at 7. The defendant asserts

that in order for § 1983 liability to apply, the plaintiff here

must show that Carilion Clinic’s police were state actors. ECF No.

13 at 7.   The defendant points out that under United States v. Day,

591 F.3d 679 (4th Cir. 2010), there is a two-factor test to

determine if a state agency relationship exists.         ECF No. 13 at 8.

The Court is to consider “(1) ‘whether the [g]overnment knew of and

acquiesced in the private’ individual’s challenged conduct; and (2)

‘whether the private individual intended to assist law enforcement

or had some other independent motivation.’”         Day, 591 F.3d at 683

(citations omitted).     Because the plaintiff has not alleged any

such relationship, the defendant argues that Counts I and II of the

amended complaint must be dismissed.       ECF No. 13 at 8-9.

     Further, the defendant argues that Counts III and IV of the

amended complaint are claims that arise under Virginia state law,

and, as such, if the court dismisses Counts I and II, it should

also dismiss Counts III and IV because there will be no federal

claims pending.   ECF No. 13 at 9 (citing United Mine Workers of Am.

v. Gibbs, 383 U.S. 715, 726 (1966) (“[I]f the federal claims are

dismissed before trial . . . the state claims should be dismissed

as well.”)).


                                    4



Case 7:17-cv-00564-FPS Document 23 Filed 10/29/18 Page 4 of 18 Pageid#: 102
       The   plaintiff   filed    a    response     in   opposition   to    the

defendant’s motion to dismiss the amended complaint.             ECF No. 16.

In response, the plaintiff first argues that the amended complaint

does   not   rely   solely   on   a   theory   of   respondeat   superior    to

establish § 1983 liability.           ECF No. 16 at 2.         The plaintiff

contends that Carilion Clinic can incur § 1983 liability for the

decision to arrest Fuller.        ECF No. 16 at 2.       The plaintiff points

out that the Supreme Court has held that a single decision by a

policymaking official can be the basis of liability.              ECF No. 16

at 2; see Pembaur v. City of Cincinnati, 475 U.S. 469, 480 (1986)

(“[M]unicipal liability may be imposed for a single decision by

municipal policymakers under appropriate circumstances.”).                  The

plaintiff alleges that here, Chief Lugar, the Chief of the Carilion

Police, made the decision to arrest Fuller.              ECF No. 16 at 3.

       Second, the plaintiff argues that Day is not the correct test

to determine if the Carilion Clinic acted as a state actor.                 ECF

No. 16 at 4.        The plaintiff contends that the instant case is

distinguishable from Day because “there is no third party who is

aiding or assisting the government authority by asserting the

police power.       Carilion is the police power.”           ECF No. 16 at 5

(emphasis in original).       Instead, the plaintiff contends that the

Court should apply the “public function” test under Rodriguez v.

Smithfield Packing Co., Inc., 338 F.3d 348 (4th Cir. 2003).                 ECF

No. 16 at 4.    In Rodriguez, the Fourth Circuit held that a private


                                       5



Case 7:17-cv-00564-FPS Document 23 Filed 10/29/18 Page 5 of 18 Pageid#: 103
party    is    subject    to    §   1983   when   they   are    acting   under   the

government’s conferral of a power that is traditionally exclusive

to the state, and that the power to arrest is “the function most

commonly associated with the police.”               Rodriguez, 338 F.3d at 355

(citation omitted).             Thus, the plaintiff contends that, under

Rodriguez, Carilion Clinic is a state actor because it has the

power to arrest.         ECF No. 16 at 5.

        The plaintiff does not dispute that if Counts I and II are

dismissed, Counts III and IV should also be dismissed.                   ECF No. 16

at 5.

        The defendant filed a reply to the plaintiff’s response in

opposition.       ECF No. 17.         The defendant argues that, although

Pembaur allowed for liability to be based on a single decision of

a policymaking official, Fuller has not alleged that Carilion

Clinic    created    the       relevant    policy   or   that   Chief    Lugar   had

policymaking authority.             ECF No. 17 at 1.       Thus, the defendant

contends that Counts I and II of the amended complaint fail to

state a claim because they do not allege sufficient facts to

establish that Carilion Clinic is liable under § 1983 for Fuller’s

arrest.       ECF No. 17 at 4.

                                II.   Applicable Law

        In assessing a motion to dismiss for failure to state a claim

under Rule 12(b)(6), a court must accept all well-pled facts

contained in the complaint as true.                  Nemet Chevrolet, Ltd v.


                                           6



Case 7:17-cv-00564-FPS Document 23 Filed 10/29/18 Page 6 of 18 Pageid#: 104
Consumeraffairs.com, Inc, 591 F.3d 250, 255 (4th Cir. 2009).

However, “legal conclusions, elements of a cause of action, and

bare assertions devoid of further factual enhancement fail to

constitute well-pled facts for Rule 12(b)(6) purposes.”                         Id.

(citing Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009)).                       This

Court     also    declines    to     consider       “unwarranted       inferences,

unreasonable conclusions, or arguments.”               Wahi v. Charleston Area

Med. Ctr., Inc., 562 F.3d 599, 615 n.26 (4th Cir. 2009).

        It has often been said that the purpose of a motion under Rule

12(b)(6) is to test the formal sufficiency of the statement of the

claim for relief; it is not a procedure for resolving a contest

about the facts or the merits of the case.              5B Charles Alan Wright

& Arthur R. Miller, Federal Practice and Procedure § 1356 (3d ed.

1998).    The Rule 12(b)(6) motion also must be distinguished from a

motion for summary judgment under Federal Rule of Civil Procedure

56, which goes to the merits of the claim and is designed to test

whether there is a genuine issue of material fact.                       Id.     For

purposes of the motion to dismiss, the complaint is construed in

the   light   most     favorable    to   the   party   making    the    claim   and

essentially      the   court’s     inquiry     is   directed    to   whether    the

allegations constitute a statement of a claim under Federal Rule of

Civil Procedure 8(a).        Id. § 1357.

        A complaint should be dismissed “if it does not allege ‘enough

facts to state a claim to relief that is plausible on its face.’”


                                         7



Case 7:17-cv-00564-FPS Document 23 Filed 10/29/18 Page 7 of 18 Pageid#: 105
Giarratano v. Johnson, 521 F.3d 298, 302 (4th Cir. 2008) (quoting

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).             “Facial

plausibility is established once the factual content of a complaint

‘allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.’” Nemet Chevrolet,

591 F.3d at 256 (quoting Iqbal, 129 S. Ct. at 1949).              Detailed

factual allegations are not required, but the facts alleged must be

sufficient “to raise a right to relief above the speculative

level.”   Twombly, 550 U.S. at 555.

                            III.   Discussion

A. Any actions by the Carilion Clinic police outside of the real
property owned, leased, or controlled by Carilion Clinic were not
authorized by Virginia Code § 9.1-101. Therefore, such actions
will not be considered in analyzing plaintiff’s § 1983 claim,
because such conduct does not constitute as state action.

     To state a claim under 42 U.S.C. § 1983, a plaintiff must

allege that a person acting under color of state law deprived him

of his rights under the Constitution or federal law.            42 U.S.C.

§ 1983; see also Rendall-Baker v. Kohn, 547 U.S. 830, 838 (1982).

“In cases construing [§] 1983, under color of law has been treated

consistently as the equivalent to the state action requirement

under the Fourteenth Amendment.”          Goldstein v. Chestnut Ridge

Volunteer Fire Co., 218 F.3d 337, 341 (4th Cir. 2000) (citing

Haavistola v. Community Fire Co. of Rising Sun, Inc., 6 F.3d 211,

215 (4th Cir. 1993)) (internal quotation marks omitted). There are

two factors that guide state action determinations:


                                    8



Case 7:17-cv-00564-FPS Document 23 Filed 10/29/18 Page 8 of 18 Pageid#: 106
        [S]tate action requires both an alleged constitutional
        deprivation caused by the exercise of some right or
        privilege created by the [s]tate or by a person for whom
        the [s]tate is responsible and that the party charged
        with the deprivation must be a person who may fairly be
        said to be a state actor.

Id. (citing American Manufacturers Mut. Ins. Co. v. Sullivan, 526

U.S. 40, 50, 119 S. Ct. 977, 143 L.Ed.2d 130 (1999)) (internal

quotation marks omitted).

        Virginia Code § 9.1-101 defines a “private police department”

as:

        any police department, other than a department that
        employs police agents under the provisions of § 56-353,
        that employs private police officers operated by an
        entity authorized by statute or an act of assembly to
        establish a private police department or such entity’s
        successor in interest, provided it complies with the
        requirements set forth herein. No entity authorized to
        operate a private police department or represent that it
        is a private police department unless such entity has
        been authorized by statute or an act of assembly or such
        entity is the successor in interest of an entity that has
        been authorized pursuant to this section, provided it
        complies with the requirements set forth herein. The
        authority of a private police department shall be limited
        to real property owned, leased, or controlled by the
        entity and, if approved by the local chief of police or
        sheriff, any contiguous property; such authority shall
        not supersede the authority, duties, or jurisdiction
        vested by law with the local police department or
        sheriff’s office including as provided in §§ 15.2-1609
        and 15.2-1704 . . .

(emphasis added).

        The plaintiff asserts that Carilion police were acting under

color of state law and are recognized as state actors.          ECF No. 16

at 2.    Specifically, the plaintiff argues that Carilion operates a

private police department authorized and established under Virginia

                                    9



Case 7:17-cv-00564-FPS Document 23 Filed 10/29/18 Page 9 of 18 Pageid#: 107
Code § 9.1-101.    Id.   However, it is clear that under the Virginia

Code, the incidents listed particularly in paragraphs 18 to 25 of

the amended complaint, alleging actions that the Carilion police

took place outside the premises of Carilion Clinic, would not be

considered actions under “color of state law.”             Therefore, the

defendant’s motion to dismiss is granted as to any liability under

§ 1983 based on any activities by the private police force that

occurred outside of property owned, leased, or controlled by

Carilion Clinic.    The defendant might still be liable on the state

claims asserted in the amended complaint.

B. Assuming without deciding that the Carilion Clinic police force
is a state actor, the plaintiff has presented enough evidence that
the Clinic may be liable under § 1983.

     1. The Court will assume, for purposes of the defendant’s
motion to dismiss, that Carilion Clinic is a state actor.

     A plaintiff bears the burden of showing that the actions of a

private entity should be attributed to the state. Austin, 195 F.3d

at 727-28.     The Supreme Court has specifically left open the

question of whether private police officers may be considered state

actors under § 1983.      Flagg Bros. Inc. v. Brooks, 436 U.S. 149,

163-64 & n.14 (1978). The Fourth Circuit has not decided the issue

presented here - namely whether a private entity may be held liable

for the actions of a private police force that has been provided

certain power under a statute       or ordinance.    However, the Fourth

Circuit has decided that a private corporation could be liable



                                    10



Case 7:17-cv-00564-FPS Document 23 Filed 10/29/18 Page 10 of 18 Pageid#: 108
under § 1983 for the actions of a police officer hired as a

security guard.      Austin, 195 F.3d at 727-28.

        In analyzing the issue, the Court may turn to other circuits

and districts. Other courts have analyzed the issue by determining

whether the private police force exercise the type of police power

that would subject it to liability as a state actor. See Henderson

v. Fisher, 631 F.2d 1115, 1118-19 (3d Cir. 1980); Wade v. Byles, 83

F.3d 902, 904-07 (7th Cir. 1996); Studivent v. Lankford, No.

1:10CV144, 2012 WL 1205722, at *1 n.2 (M.D. N.C. Apr. 11, 2012).

For example, courts have held that if the state cloaks private

individuals with virtually the same power as public police officers

and the private actors allegedly abuse that power to violate the

plaintiff’s civil rights, that plaintiff’s ability to claim relief

under    §   1983    should   be   unaffected.       See    Payton      v.   Rush-

Presbyterian-St. Luke’s Medical Center, 184 F.3d 623, 629 (7th Cir.

1999); Stengel v. Belcher, 522 F.2d 438, 441 (6th Cir. 1975).

        The test for determining whether or not a particular private

entity is considered a state actor is extremely fact specific.

Most if not all of the cases that have decided a similar issue to

the one at hand has been after a motion for summary judgment has

been    filed,   rather   than     a   Rule   12(b)(6)    motion   to   dismiss.

Therefore,    this    Court   will     assume   without    deciding     that   the

defendant is a state actor but only for purposes of the defendant’s




                                        11



Case 7:17-cv-00564-FPS Document 23 Filed 10/29/18 Page 11 of 18 Pageid#: 109
motion to dismiss.       Further discovery is needed in order to assess

whether or not Carilion Clinic is considered a state actor.

     2. Assuming without deciding that Carilion Clinic is a state
actor for purposes of the defendant’s motion to dismiss, the
Carilion Clinic may be liable under § 1983 due to the decision, or
alternatively deliberate omission, by the Chief of the Carilion
police force, or other designee in his chain of command, that
allegedly led to a deprivation of plaintiff’s rights.

      The    Supreme     Court        has   “consistently      refused    to   hold

municipalities liable under a theory of respondeat superior.”

Board of County Com’rs of Bryan County, Okl. v. Brown, 520 U.S.

397, 402, 117 S. Ct. 1382, 1388, 137 L.Ed.2d 626 (1997).                  Pursuant

to   Monell,   §    1983    liability       against   a   local      government    or

municipality       may   arise    when       execution    of   the    government’s

unconstitutional policy or custom causes plaintiff’s injury.                      See

Walker v. Prince George’s Cnty., Md., 575 F.3d 426, 431 (4th Cir.

2009). Specifically, the plaintiff must demonstrate the following:

“(1) the municipality [has] actual or constructive knowledge of the

custom and usage by its responsible policymakers, and (2) . . .

failure by those policymakers, as a matter of specific intent or

deliberate indifference, to correct or terminate the improper

custom or usage.”        Randall v. Prince George’s Cnty, Md., 302 F.3d

188, 201 (4th Cir. 2002) (internal quotation marks omitted).                        A

“municipal     policy      may   be    founded   in   written     ordinances      and

regulations or, in certain affirmative decisions of individual

policymaking officials, or in certain omissions on the part of

policymaking officials that manifest deliberate indifference to the

                                            12



Case 7:17-cv-00564-FPS Document 23 Filed 10/29/18 Page 12 of 18 Pageid#: 110
rights    of       citizens.     Outside      of   such    formal     decisionmaking

channels,      a    municipal    custom    may     arise   is    a   practice    is   so

persistent and widespread and so permanent and well settled as to

constitute a custom or usage with the force of law.”                       Carter v.

Morris, 164 F.3d 215, 218 (4th Cir. 1999) (citing Monell, 436 U.S.

at 690-91; Pembaur, 475 U.S. at 483-84; City of Canton v. Harris,

489 U.S. 378, 388-89, 109 S. Ct. 1197, 103 L.Ed.2d 412 (1989))

(internal quotation marks omitted) (citations omitted).                           “The

Supreme Court has recognized that under appropriate circumstances

a municipality may incur § 1983 liability for a single decision of

a policymaking official.”            Austin, 195 F.3d 715, 728 (4th Cir.

1999) (citing Pembaur v. Cincinnati, 475 U.S. 469, 480 (1986)).

Moreover, as mentioned previously, the Fourth Circuit has held that

Monell applies to private corporations as well.                      Austin, 195 F.3d

at 728.

     Carilion Clinic may not be held liable under § 1983 based on

respondeat superior.           However, the plaintiff has alleged that the

Chief of Carilion Police, or his designee in the chain of command,

made a decision to arrest, interrogate, and imprison the plaintiff

and that such a decision amounted to a constitutional deprivation.

ECF No. 16 at 3.           Moreover, the plaintiff argues that such a

decision, or the failure to prevent the events alleged from

occurring,         constitutes   a   single      decision,      or   omission,   by   a

policymaker with final authority.                Id.   This Court finds that the


                                           13



Case 7:17-cv-00564-FPS Document 23 Filed 10/29/18 Page 13 of 18 Pageid#: 111
plaintiff has pled facts sufficient to show that Carilion Clinic

may be liable under § 1983 due to the decision, or deliberate

omission, of the Chief, or other designee in his chain of command.

Although further discovery may be needed to show such liability at

trial, or to defeat a motion for summary judgment, for the purpose

of satisfying a Rule 12(b)(6) motion to dismiss, the facts alleged

by the plaintiff are sufficient to establish a claim under § 1983.

Therefore, this Court finds that the plaintiff does not fail to

state a claim under § 1983 based on a “policymaking” theory.

Accordingly,    the   defendant’s      motion   to    dismiss    the   amended

complaint is denied with respect to this issue.

     3. The Carilion Clinic may be liable under § 1983 due to
exercising powers that are traditionally the exclusive prerogative
of the state.

     The Supreme Court has identified three situations in which

particular conduct by a private entity constitutes state action.

The first situation is when there is a “symbiotic relationship,” or

in other words, “a sufficiently close nexus between the [s]tate and

the challenged action of the regulated entity so that the action of

the latter may be fairly treated as that of the [s]tate itself.”

Blum v. Yaretsky, 457 U.S. 991, 1004-05, 102 S. Ct. 2777, 2785-86,

73 L.Ed.2d 534 (1982) (citing Jackson v. Metropolitan Edison Co.,

419 U.S., 345, 350, 95 S. Ct. 449, 453, 42 L.Ed.2d 477 (1974))

(internal quotation marks omitted).         The question is whether the

state   is   responsible   for   the    specific     conduct    of   which   the


                                       14



Case 7:17-cv-00564-FPS Document 23 Filed 10/29/18 Page 14 of 18 Pageid#: 112
plaintiff complains.     Id.    The second situation arises when there

is extensive government regulation of a private entity.          Id.   This

occurs when the state exercises “coercive power or [] provide[s]

such significant encouragement, either overt or covert, that the

choice must in law be deemed to be that of the [s]tate.”                  Id.

Lastly, and most relevant to the case at hand, is the “public

function” exception, where a “private entity [] exercise[s] powers

that are traditionally the exclusive prerogative of the state.”

(citing Jackson, 419 U.S. at 353, 95 S. Ct. at 454) (internal

quotation marks omitted).       Relevant to all three categories is the

level of government funding the private entity receives, although

receipt of state funds alone is insufficient.         Goldstein, 218 F.3d

at 347.

      Under the “public function” exception, the relevant question

is not whether a private group is serving a “public function;”

rather, it is whether the function performed has been traditionally

the   exclusive   prerogative    of   the    state.    See   Haavistola    v.

Community Fire Co. of Rising Sun, Inc., 6 F.3d 211, 215-16 (4th

Cir. 1993).     It is not enough that a private entity performs a

function which serves the public.          Mentavlos v. Anderson, 249 F.3d

301, 317 (4th Cir. 2001).      The test is “so carefully confined that

it has been found only in narrow circumstances.”               Id. (citing

Goldstein, 218 F.3d at 348) (internal quotation marks omitted).            A

factor relevant to the state action determination is how the state


                                      15



Case 7:17-cv-00564-FPS Document 23 Filed 10/29/18 Page 15 of 18 Pageid#: 113
itself views the entity.         Although not dispositive, if a state

views a private entity as a state actor, this “militates in favor

of [] finding state action.”          Id. at 318 (citing Goldstein, 218

F.3d at 347) (internal quotation marks omitted).                After a finding

that the entity is carrying out functions that are traditionally

and exclusively reserved to the state, no specific demonstration of

a nexus to the alleged constitutional violation is necessary.

Goldstein, 218 F.3d at 347.

     The plaintiff alleges that the plaintiff was placed under

arrest by individuals with full law enforcement authority. ECF No.

16 at 5.    The plaintiff states that the Court should consider the

following   factors:    (1)   the    time,      place,    and   purpose   of   the

encounter; (2) the words used by the officer; (3) the presence of

multiple officers; (4) the display of a weapon; and (5) physical

contact with the plaintiff.         Id. (citing United States v. Weaver,

282 F.3d 302, 312 (4th Cir. 2002)).                The plaintiff argues that

“[g]iven the public function test; Virginia’s view of the Carilion

Police Department; the plenary police power the state has vested in

the Carilion Police Department; the totality of the circumstances

regarding   Fuller’s    arrest      and   the    rights    of   the   individual

protected by § 1983, the Court should find that Carilion is a state

actor for the purposes of § 1983.”           Id.    This Court finds that the

plaintiff has pled facts sufficient to show that Carilion Clinic

may be liable under § 1983 under the “public function” exception.


                                      16



Case 7:17-cv-00564-FPS Document 23 Filed 10/29/18 Page 16 of 18 Pageid#: 114
Although further discovery may be needed to show liability based on

such a theory at trial, or to defeat a motion for summary judgment,

for the purpose of satisfying a Rule 12(b)(6) motion to dismiss,

the facts alleged by the plaintiff are sufficient to establish a

claim under § 1983. Therefore, this Court finds that the plaintiff

does not fail to state a claim under § 1983 based on the “public

function”   exception.      Accordingly,    the   defendant’s   motion    to

dismiss is denied with respect to this issue.

                             IV.   Conclusion

     For the reasons set forth above, Carilion Clinic’s motion to

dismiss (ECF No. 12) is GRANTED IN PART and DENIED IN PART.              The

motion to dismiss is GRANTED as to any liability under § 1983 based

on: (1) any activities by the private police force that occurred

outside of property owned, leased, or controlled by Carilion

Clinic; and (2) liability based on respondeat superior. The motion

to dismiss is DENIED as to any liability under § 1983 based on: (1)

a “policymaking” theory; and (2) the “public function” exception.

Further discovery regarding these issues and as to whether Carilion

Clinic is a state actor under claims for acts not outside of

defendant’s property is warranted.

     IT IS SO ORDERED.

     The Clerk is DIRECTED to transmit a copy of this memorandum

opinion and order to counsel of record herein.




                                    17



Case 7:17-cv-00564-FPS Document 23 Filed 10/29/18 Page 17 of 18 Pageid#: 115
     DATED:      October 29, 2018


                                   /s/ Frederick P. Stamp, Jr.
                                   FREDERICK P. STAMP, JR.
                                   UNITED STATES DISTRICT JUDGE




                                    18



Case 7:17-cv-00564-FPS Document 23 Filed 10/29/18 Page 18 of 18 Pageid#: 116
